Case 1:24-cv-04126-PKC-MMH Document 4-13 Filed 06/10/24 Page 1 of 6 PageID #: 151




          EXHIBIT L
         Case
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               4:47 PM · May 14, 2024 · 42.9K Views
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                           1                                   1                1.3K                      #TSTTPD
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                        Man send to me please

                                                                                237


                        Ƀitcoin Chris @CryptoChrisG · 22h
                        Is the album any good?

                           1                                   5                2.6K


                        Martin Shkreli (e/acc)     @MartinShkreli · 22h
                        nah

                           2                   1               115              2.7K


                        Loftwah      @loftwah · 20h
                        Listen to the tracks I produced with some of em that are already out there
                        instead?

                           1                                   2                883


                        Cooper     @peakcooper · 19h
                        nah

                           1                                   4                769

                                                                                                     Messages
                        Loftwah     @loftwah · 19h
https://twitter.com/MartinShkreli/status/1790484137486217269                                                                                                 1/5
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                     Worth a shot haha

                                                             5          771


                     CryptoRalph    @CryptoRalphNFT                                   Ad
                        Breaking news

                     We bring CryptoRalph to Blast
       1             Minting now
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                         3               2                   4          235K


                     Alice (e/nya)   @Alice_comfy · 20h
                     Common Martin w

                                                             4          1.2K




                                                                                             Messages

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